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                          No. 22-11731-E
__________________________________________________________________

           IN THE UNITED STATES COURT OF APPEALS
                  FOR THE ELEVENTH CIRCUIT
__________________________________________________________________


                    UNITED STATES OF AMERICA,
                             Appellee.

                                    -vs-

                             ROBERT DUNN,
                               Appellant,

                Appeal from the United States District Court
                   For the Southern District of Florida

                      No. 9:20-cr-80085-RKA-1
__________________________________________________________________

                    APPELLANT’S INITIAL BRIEF

__________________________________________________________________


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    Certificate of Interested Persons and Corporate Disclosure Statement

        Undersigned counsel for Robert Dunn hereby certifies that the following is a

complete list of persons and entities who have an interest in the outcome of this

case:

   1. Altman, Hon. Roy K., United States District Judge;

   2. Birch, Peter, Asst. Federal Public Defender;

   3. Brannon, Hon. Dave Lee, United States Magistrate Judge;

   4. Brown, Richard O.I., Asst. United States Attorney;

   5. Cannon, Hon. Aileen M., United States District Judge;

   6. Cunill, Andrea S., Counsel for Appellant;

   7. Dunn, Robert, Appellant;

   8. Laserna, Peter A., Asst. United States Attorney;

   9. Matthewman, Hon. William, United States Magistrate Judge;

   10. McCrae, Caroline M., Former Counsel for Appellant;

   11. McMichael, Adam, Asst. United States Attorney;

   12. O’Donnell, Edward Joseph, Counsel for Appellant;

   13. Osborne, Susan, Asst. United States Attorney;

   14. Quintero JR., Frank, Former Counsel for Appellant;

   15. Reinhart, Hon. Bruce E., United States Magistrate Judge;



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      Certificate of Interested Persons and Corporate Disclosure Statement
                                      (cont.)

   16. Schiller, Gregory, Asst. United States Attorney;

   17. Tonya Bagley


   Counsel certifies that no publicly traded company or corporation has an interest

in the outcome of this case or appeal.




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                      Statement Regarding Oral Argument

      Robert Dunn respectfully requests oral argument to supplement this brief. The

issues in this case are not adequately reflected by the record and oral argument would

aid the Court in deciding this matter.




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            Statement of Subject-Matter and Appellate Jurisdiction

      The District Court had jurisdiction of this case pursuant to 18 U.S.C. § 2251

and 18 U.S.C. § 2252. This court has jurisdiction over this appeal pursuant to 28

U.S.C. § 1291 and 18 U.S.C. § 3741, which gives the court of appeals jurisdiction

over all final decisions and sentences of the District Courts of the United States. The

notice of appeal was filed on May 20, 2022, from the final judgment entered on May

13, 2022.




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                        STATEMENT OF THE ISSUES

   1. Whether the District Court erred in denying the Motion to Dismiss the

      Indictment.

   2. Whether the District Court’s granting of the of the first continuance on March

      16, 2020 was an Abuse of Discretion with findings of fact that were clearly

      erroneous.

   3. Whether the District Court conducted a proper analysis and made sufficient

      findings on the remaining continuances throughout the case, as required under

      the Speedy Trial Act, 18 U.S.C. § 1361, to justify the pre-indictment delay.

                         STATEMENT OF THE CASE

   1. Procedural History

   On March 10, 2020, Robert Dunn (“Dunn”) was arrested on a criminal complaint

alleging that he had received and possessed child pornography in violation of 18

U.S.C. § 2252(a)(2)/(b)(1) and 18 U.S.C. § 2252(a)(4)(B)/(b)(2). DE-1. On the same

day, Dunn had his initial appearance before Magistrate Judge William Matthewman

where his detention hearing was set for March 17, 2020. DE-2. On March 13, 2020,

the Honorable K. Michael Moore, then-Chief Judge of the Court, entered the first of

a series of administrative orders regarding the Covid-19 pandemic.

   The first order continued jury trials in the Southern District of Florida through

March 30, 2020 “in order to protect the public health, and …. To reduce the size of




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public gatherings and reduce necessary travel.” Administrative Order 2020-18 (“AO

2020-18”) [ECF No. 52-1] at 1. It also specified that “the time period of any

continuance entered as a result of th[e] order shall be excluded under the Speedy

Trial Act, … as the Court finds that the ends of justice are served by taking that

action outweigh the interests of the parties and the public in a speedy trial.” Id. at 1-

2. The order further specified that “Criminal matters before Magistrate Judges, such

as initial appearances, arraignments, detention hearings, and the issuance of search

warrants, shall continue to take place in the ordinary course” and that “Grand Juries

shall continue to meet pending further order of the court.” Id. at 3.

   On March 16, 2020, the Government filed an agreed motion to continue

arraignment. DE-6. In the motion, the government stated that “due to the unforeseen

nature of the global coronavirus pandemic, the government and its agents will not

be able to prepare properly for Grand Jury, or confirm that a quorum for Grand Jury

will be available, such that an Indictment is returned before the arraignment on

March 24, 2020.” Id. at 1. That same day, U.S. Magistrate Judge Bruce E. Reinhart

issued a paperless order granting the Government’s motion to continue Dunn’s

arraignment and continued Dunn’s detention hearing to March 18, 2020 and the

preliminary/arraignment hearing to April 6, 2020. DE-7.

   The paperless order stated that “in light of the current public health emergency,

the interests of justice require the Court to take additional steps to protect the health



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and safety of parties, counsel, and court staff; they also require that steps be taken to

ensure that counsel and clients (particularly incarcerated clients) have meaningful

consultation.” Id. The Court continued the arraignment until April 6, 2020, citing

Administrative Order 2020-18, 4 (Individual Judges presiding over criminal

proceedings may take such actions consistent with this order as may be lawful and

appropriate to ensure the fairness of the proceeding and preserve the rights of the

parties). Id. Thus, the Court excluded the time until April 6, 2020, under the Speedy

Trial Act, 18 U.S.C. § 3161(h)(7)(A), finding that the ends of justice served by this

continuance outweigh the interests of the parties and the public in a speedy trial. Id.

   On March 18, 2020, a detention hearing as to Dunn was held in which the Court

ordered Dunn to be detained pretrial. DE-8. At this time, the Government was

investigating a separate incident of child exploitation involving Dunn. Based on this

other investigation, on March 19, 2020, the Government charged Dunn-again, by

criminal complaint, with conspiracy to produce child pornography. DE-1. The next

day, Dunn made his initial appearance on this second complaint. DE-5. To keep the

cases together, the arraignment in the second case was set for April 6, 2020.

   On March 20, 2020, Chief Judge Moore entered a second administrative order

concerning the Covid-19 pandemic. In this second order, Chief Judge Moore

continued all jury trial in this District “pending further Order from the Court.”

Administrative Order 2020-21 (“AO 2020-21”) [ECF No. 52-2] at 1. The order,



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however, stated that all criminal matters before Magistrate Judges, such as initial

appearances, arraignments, detention hearings, and the issuance of search warrants,

shall continue to take place, and that Grand Juries shall continue to meet pending

further Order from the Court. Id. at 3.

   On March 26, 2020, Chief Judge Moore entered a third administrative order, this

time about grand jury proceedings. See generally Administrative Order 2020-22

(“AO 2020-22”). This third order continued all grand jury sessions in the Southern

District of Florida until April 27, 2020 and excluded from the speedy-trial clock “any

continuance of grand jury sessions.” Id. at 1.

   On March 30, 2020, a second Motion to Continue Arraignment and preliminary

hearing stipulated by both parties was filed by the Government. DE-10. The

following day, U.S. Magistrate Judge Dave Lee Brannon issued a paperless order

granting the motion and continued the preliminary hearing/arraignment until May,

21, 2020, finding that the ends of justice are served by the continuance and excluded

the time between 4/6/2020 and 5/21/2020. DE-11.

   On April 3, 2020, Chief Judge Moore entered a fourth administrative order. See

generally Administrative Order 2020-24 (“AO 2020-24”). This fourth order

continued all jury trials and grand jury sessions in the Southern District of Florida

until July 6, 2020. Id. at 1. Like the previous orders, this order excluded the time

from the continuance period from the Speedy Trial clock and found that the ends of



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justice served by taking this action outweigh the interests of the parties and the public

in a speedy trial. Id. at 2.

   On May 20, 2020, a preliminary hearing as to Dunn was held in front of U.S.

Magistrate Judge Bruce E. Reinhart, in which the court found that the Government

had met its burden to establish probable cause. DE-12.

   On May 31, 2020, Chief Judge Moore entered a fifth administrative order

concerning the Covid-19 pandemic. See generally Administrative Order 2020-33

(“AO 2020-33”). This order continued all jury trials and grand jury sessions in the

Southern District of Florida until August 31, 2020, pending further Order from the

Court. Id. at 2-3. This order contained the same ends of justice findings as the

previous orders. Id. The Chief Judge’s next order came on June 29, 2020. Like the

previous orders, this order continued jury trials and grand jury sessions until October

13, 2020. Id. at 2-3. Likewise, the order contained the same ends of justice findings

as the previous administrative orders. Id.

   On July 6, 2020, U.S. Magistrate Judge William Matthewman set Dunn’s

arraignment for both cases for October 21, 2020, finding that the ends of justice was

served by the continuance and the court found the time between 7/6/2020 and

10/21/2020 was to be excludable from the Speedy Trial clock. DE-16.

   A little over a month later, Chief Judge Moore entered another administrative

order on August 11, 2020. This administrative order continued all jury trials and



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grand jury sessions in the Southern District of Florida until January 4, 2021, pending

further Order of the court. Id. at 2-3. Like the previous orders, it found that the ends

of justice served by taking this action outweigh the interests of the parties and the

public in a speedy trial, and that the period of any continuance of grand jury sessions

shall be excluded under the speedy trial clock. Id. at 3-4.

   On October 20, 2020, an unopposed motion to continue Arraignment was filed

by Robert Dunn, requesting the arraignment be continued for 90 days as grand jury

sessions had still not reconvened and no indictment had been returned. DE-19. That

same day, U.S. Magistrate Judge Bruce E. Reinhart issued a paperless order granting

the motion to continue and resetting the arraignment to January 1, 2021, finding that

“the time period between October 20, 2020 through January 20, 2021 is excludable

from speedy trial calculations, because the ends of justice served by this delay

outweigh the interests of the defendant of the public in a speedy trial.” DE-20.

   That same day, Chief Judge Moore entered another administrative order

concerning the Covid-19 pandemic. See generally Administrative Order 2020-76

(“AO 2020-76”). This order continued all jury trials in the Southern District of

Florida until April 5, 2021. Id. at 2. The order continued all grand jury sessions in

the Southern District of Florida until November 16, 2020. Id. at 3.

   On December 1, 2020, a grand jury sitting in the Southern District of Florida

returned a five count Indictment against Dunn. DE-33. The Indictment charged



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Dunn with one count of Conspiracy to Produce Child Pornography, in violation of

18 U.S.C. §§ 2251(a) and (e) (Count 1); one count of Production of Child

Pornography, in violation of 18 U.S.C. §§ 2251(a) and (e) (Count 2); one count of

Offense By A Registered Sex Offender, in violation of 18 U.S.C. § 2260A (Count

3); one count of Receipt of Child Pornography, in violation of 18 U.S.C. §§

2252(a)(2) & (b)(1) (Count 4); and one count of Possession of Child Pornography,

in violation of 18 U.S.C. §§ 2252(a)(4)(B) & (b)(2) (Count 5). DE-33.

   On January 11, 2021, Dunn filed a pro se Motion to Dismiss the Indictment with

Prejudice and to vacate the continuances on the basis that the pre-indictment delay

violated his constitutional rights to a speedy trial. DE-37. While Dunn was already

represented by Assistant Federal Public Defender Caroline McCrae, Dunn asked to

proceed by hybrid representation, under the terms of which he would act pro se only

for the purposes of litigating the motion to dismiss. DE-43. With the understanding

that Dunn wanted AFPD McCrae to represent him in all other aspects of the case,

the Court allowed Dunn to litigate his Motion to Dismiss pro se. DE-48.

   On January 21, 2020, an arraignment was held as to Dunn. DE-45. U.S.

Magistrate Judge William Matthewman held the hearing by Zoom video

teleconference in which Dunn waived his physical appearance in the courtroom and

appeared by video. Id. The Court found the hearing cannot be further delayed

without serious harm to the interests of justice due to the Covid-19 pandemic, the



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Care’s Act and Chief Judge Moore’s Administrative Orders. Id. The Court advised

the defendant of the charges and possible maximum penalties. Id. The defendant

waived formal reading, entered a plea of Not Guilty, and demanded a trial by Jury.

Id.

      On February 16, 2021, the Government filed its Response in Opposition to the

Motion to Dismiss the Indictment with Prejudice. DE-52. On April 19, 2021, Dunn

filed his Reply in Opposition to the Government’s Response to the Defendant’s

Motion to Dismiss the Indictment and to Vacate Continuances. DE-66. On June 15,

2021, an Unopposed Motion to Continue Trial was filed by Dunn. DE-70. On June

28, 2021, the Court granted the unopposed motion to Continue Trial and continued

the trial to September 27, 2021 and excluding the time from June 15, 2021 through

September 27, 2021. DE-72. On September 3, 2021, an unopposed Motion to

Continue Trial was filed by Dunn. DE-74. On September 13, 2021, the Court granted

the Unopposed Motion to Continue the trial and set the Jury Trial for January 31,

2022. DE-74. On December 1, 2021, the Court issued an order denying Defendant’s

Motion to Dismiss the Indictment with Prejudice. DE-78.

      On December 17, 2021 a conditional plea agreement was reached. DE-92. Dunn

agreed to plead guilty to the following counts of the Indictment: Count 1, which

charged Dunn with Conspiracy to Produce Child Pornography in violation of 18

U.S.C. §§ 2251(a) & (e); Count 2, which charged Dunn with Production of Child



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Pornography in violation of 18 U.S.C §§ 2251(a) & (e); Count 4, which charged

Dunn with Receipt of Child Pornography in violation of 18 U.S.C. §§ 2251(a)(2) &

(b)(1); and Count 5, which charged Dunn with Possession of Child Pornography in

violation of 18 U.S.C. §§ 2252(a)(4)(B) & (b)(2). Id. The Government agreed to

seek dismissal of Count 3 of the Indictment after sentencing. Id. Pursuant to Federal

Rule of Criminal Procedure 11(a)(2), the Government consented to the defendants

entry of a conditional plea of guilty and reservation of his right to seek appellate

review only of the district court’s denial of his pro se motion to dismiss the

indictment (Docket Entry 78) as to his statutory speedy trial rights only and no other

issue in the order. Id.

   Dunn was sentenced to a total of 600 months followed by Supervised Release for

a term of life for Counts 1, 2, 4, and 5. DE-120. The sentence consisted of 360

months as to Count 1; 600 months as to Count 2; 240 months as to Count 4; and 240

months as to Count 5, all to be served concurrently followed by Supervised Release

for a term of life. Id. Count 3 was dismissed. Id. Additionally, Dunn was ordered to

pay the United States a special assessment of $400. Id. On May 20, 2022, Dunn filed

a timely notice of appeal. DE-121. Mr. Dunn is currently incarcerated pending

the outcome of this appeal.

   2. Statement of the Facts:




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   The United States of America and Robert Dunn agreed that had this case gone to

trial, the United States would have proven the following facts beyond a reasonable

doubt.

   On September 3, 2019, a Federal Bureau of Investigation (FBI) Task Force

Officer (TFO) received a CyberTip from the National Center for Missing and

Endangered Children (NCMEC). The tip indicated that on June 24, 2019 at 18:39

UTC, Google identified a Google Photos storage account belonging to

robertaDunn7975@gmail.com containing two (2) unique child sexual abuse

material (CSAM) photos (a/k/a child pornography). Both images portrayed different

prepubescent females with their legs spread exposing their pubic regions. Google

provided      T-Mobile    phone   number         941-xxx-7484,    and     email   address

robertDunn7975@yahoo.com, linked to this account. Google provided IP addresses

used to access that account from as far back as September 2018, including the IP

address used to upload the CSAM, which was owned by comcast.

         T-mobile identified the subscriber of the phone number as Dunn, the account

creation date of January 25, 2019, the termination date of August 25, 2019, and then

IMEI number of the phone as 354953075263800. Comcast provided the IP address

was assigned to DUNN’s physical address in North Port, Florida. Dunn had reported

this as his residence to the Florida Department of Law Enforcement in early 2019

when he began to register as a sex offender after being convicted February 20, 2014



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in Manatee County, Florida for traveling to meet a parent to solicit/entice a child to

commit a sex act and attempted lewd or lascivious battery of a child (Manatee

County Case Number 2013CF001032A). During all times of the facts listed in this

document, DUNN was in fact a registered sex offender.

   A search warrant return from Google for the robertaDunn7975@gmail.com

account contained the CSAM images described above in the first CyberTip.

Contained within the photos folder in the response was a sub-folder entitled,

"Hangout_Robert Dunn to Wendy Dunn," which contained the same images from

the CyberTip as well as an image of DUNN that showed his face and his penis. In

the image, DUNN appeared to be masturbating on a couch.

   On October 16, 2019, the FBI TFO receive a second CyberTip regarding the

Google account robertantondunn7975@gmail.com, created on or about June 24,

2019 at 18:56 UTC created approximately 17 minutes after Google reported the

robertaDunn7975@gmail.com account to NCMEC. The tip contained CAM,

identified in the account's Google Drive, of a prepubescent female with their legs

spread exposing her pubic region. Google provided login IP addresses for the

account from June 24, 2019 through September 1, 2019. Although multiple IP

address logins originated in North Port, Florida, the last IP address to access the

robertantondunn7975&gmail.com account was an AT&T IP address. AT&T

identified the subscriber at DUNN’s Lake Worth, FL 33463 (Lake Worth residence).



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   A search of the Florida Department of Law Enforcement (FDLE) sexual offender

registration website for DUNN revealed that on August 10, 2019, DUNN had

changed his permanent address from North Port, FL to the Lake Worth residence.

   A search warrant return from Google for the robertadunn7975@gmail.com

account revealed the same CSAM as in the second CyberTip. The response also

included multiple Google Hangout chats with various women, including “Wendy”

using Google account from July – August 2019. In Dunn’s conversation with

“Wendy” on August 21, 2019, Dunn reported his address as the Lake Worth

residence. In the same conversation, DUNN expressed his desire to have the female

and a young girl fly to the United States for the purposes of sex and to teach them to

be a “sex slave”. He also expressed his desire to attend a Catholic seminary to

become a priest for the purpose of having sex with children.

   Law enforcement surveillance confirmed Dunn lived at the Lake Worth

residence. On March 10, 2020, a search warrant was executed at the Lake Worth

residence. Dunn provided a consensual, non-custodial statement, during which he

admitted to possessing and receiving pornography for the past two (2) years. He

admitted the nudistmale7975 and robertdunn7975 were his accounts.

   Dunn admitted that he downloaded multiple child pornography images from the

internet. He could only recall that he obtained the images from a google search, and

he clicked on “links” to obtain them. He recalled using search terms related to child



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pornography. He described the images of minors to include at least one nude image

of an approximately 12-year-old female, with her legs spread open, and her vagina

fully revealed to the camera. He admitted that he distributed multiple child

pornography through the Goggle Hangouts application in the chat.

   Dunn admitted that he owned a Dell laptop computer Service Tag HRS7Y32M.

During the search of Dunn’s bedroom, agents discovered his wallet, driver’s license,

and Dell laptop computer hidden in the closet wrapped in plastic. The power cord

for the computer was lying next to his bed, and a mouse was on top of the bed.

During an onsite preview of the computer, multiple child pornography images were

found in the recycle bin folder, having previously been in the downloads folder.

Those files were received onto the computer on January 17, 2020 and deleted within

the next 12 hours. Agents found dozens of images and at least eight (8) videos of

CSAM. Dunn stated he could not remember specifically downloading these images

and videos, but did admit that he had downloaded CSAM specifically using this Dell

laptop during the past two years.

   Dunn’s iPhone 62, serial number 354953075263808 (phone number 561-334-

8293) was found in his pocket. An examination of the device revealed that the iPhone

6s had an iCloud account connected to Dunn’s Yahoo! email address, Google

Hangouts and Facebook accounts using Dunn’s Yahoo! and Gmail Accounts,

including nudistmale7975@gmail.com. Agents further found a video entitled



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IMG_0808.mov produced by the same phone. In the video Dunn recorded himself

masturbating for several minutes. On three occasions during the masturbatory

episode, he panned the phone’s camera up to view his television. Each time a

different image of CSAM was visible on the television screen. The metadata of the

video indicates that the video was created on January 1, 2020.

   Dunn’s iPhone 10 (phone number 941-416-3617) was found in his bedroom.

AT&T provided records that this phone number was assigned to Dunn’s niece at the

Lake Worth residence. An examination of the device revealed an iCloud account

connected to Dunn’s Yahoo! email address, Google Hangouts and Facebook

accounts    using    Dunn’s     Yahoo!         and    Gmail     Accounts,    including

Nudistmale7975@gmail.com.

   Dunn also stated that he had been in Facebook communication with a woman

named “Tonya” whom he believed to be in Colorado. Dunn said that he asked

“Tonya” to produce an image of her performing oral sex on her 6-year-old son

(Minor Victim 1) and to send Dunn the picture. Dunn admitted that she did in fact

produce the CSAM image at his request, and sent it to him through Facebook

Messenger, which he then used to view the image. He admitted that she sent three

(3) such images of CSAM that he viewed through Facebook Messenger. He stated

that he went to Western Union in Palm Beach County and sent “Tonya” money to




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help her move to Florida to live with him, along with her children, whereupon he

would be the “master” and “Tonya” would be the “slave.”

   After Dunn’s arrest for possession and receipt of child pornography on March

10, 2020, a search warrant was issued to Facebook for Dunn and “Tonya’s”

accounts. The return from Facebook for Dunn’s account, ID# 1000256336351, and

“Tonya’s” account, ID# 1048088014, confirmed that in fact they had

communication which began on November 19, 2019 and ended on November 21,

2019. “Tonya” was identified as the separately charged co-defendant Tonya Bagley

(“Bagley”). Dunn created the Facebook account using his name, “Robert Dunn;” his

email address, robertdunn7975@yahoo.com; his current location as Lake Worth,

Florida; verified phone numbers of 561-334-8293 (as of January 27, 2020) (from

his nudistmale7975 account), 941-275-7484 (from the robertadunn7975 account)

and 941-416-3617 (used for iPhone 10); and his real date of birth.

   During the communications or direct messages (“DM’s”) between November 19

and 21, 2019, Dunn was in the Southern District of Florida and Bagley was in the

District of Colorado.

   The Facebook messages from November 19, 2019 through November 21, 2019

corroborated Dunn’s statement regarding Bagley. Dunn initiated the DM with

Bagley on November 19, 2019. The messages indicated that Bagley and Dunn

agreed to engage in a “master-slave” relationship during which time they exchanged



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photographs of each other. During the communication, Bagley provided identifying

information about Minor Victim 1, her other 12-year-old son, and her 19-year-old

daughter.

   Dunn DM’d that he used to live on the west coast of Florida but had moved to

Lake Worth, Florida. Multiple photographs that Dunn sent to Bagley during the

three-day messaging were of himself in his home or in the yard in Lake Worth, as

identified during the execution of the search warrant at the Lake Worth residence on

March 10, 2020. Bagley DM’d that she lived in Colorado.

   Dunn and Bagley DM’d extensively about having a dominant-submissive

relationship: Dunn the master, Bagley the slave. Dunn DM’d Bagley that he wanted

her to move to Florida to be his slave. Dunn asked if Bagley would bring both of her

sons to Florida; Bagley responded in the affirmative. They discussed Bagley’s 19-

year-old daughter being a surrogate for their love child. Dunn repeatedly requested

of Bagley, who willingly agreed, that upon living together, she would always be

naked and perform oral sex on Dunn unless he directed her otherwise. They both

agreed it would be acceptable for Bagley’s children to be present during these

activities. Dunn and Bagley agreed that the children would live nude with them as

well. They both further agreed that watching pornography in front of the children

would be appropriate.




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   During a series of DMs, Bagley discussed Minor Victim 1 previously having an

erection, looking at her vagina, and on one occasion, touching her face with his penis

while she was sleeping. Dunn responded how this excited him, sexually. Dunn

inquired about Bagley giving the child oral sex, to which Bagley responded that

Minor Victim 1 once asked her for oral sex. When Dunn asked if Bagley would

consider this behavior wrong, Bagley said she would consider it if the boy was older.

Dunn DM’d how the legal age of adulthood was not correct in his mind and that

adulthood began when a child reached puberty, regardless of the age.

   Dunn DM’d a “contract” to Bagley which outlined rules that the master and slave

agree to. Dunn DM’d the rules one at a time and requested Bagley send a nude

photograph of herself every time she agreed to a rule. Bagley did this for each of the

ten (10) rules, DM’ing different photographs of herself naked on a bed. Rule Four,

entitled, “The Law of being Sexually Pleasing,” included among other things,

paragraph “F,” in which Dunn DM’d that “… if I do so order her to suck or even

jack off one of her sons or eat her daughter’s pussy – to perform a sexual activity

with her children – that she will do it without question.”

   Dunn further DM’d in Paragraph “I” of Rule Four that, “[t]he slave acknowledges

that she will do everything within her power to convince her sons not to rat her out

for any reason that she may perform oral sex upon them or give the hand jobs when

I request it of her.” In acknowledging her agreement and acceptance to Rule Four,



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including paragraphs “F” and “I”, Bagley DM’d a nude photograph of herself lying

on her back in a bed with her legs up in the air exposing her vagina. Dunn DM’d

Bagley inquiring who captured each of the aforementioned photographs. Bagley said

Minor Victim 1 took the photographs.

      After the rules were established and agreed to, Dunn messaged Bagley to

“suck [Minor Victim 1]s dick when you put him to bed tonight.” Dunn then

requested that Bagley take a photograph of her on her knees with Minor Victim 1’s

penis by her face. She responded, “Yes Master. Thank you.” Bagley sent a

photograph and apologized for the poor quality of the photograph saying that Minor

Victim 1 took the photograph. Dunn requested that she retake the photograph.

      Bagley sent a photograph of Minor Victim 1’s torso and hand. Minor Victim

1 wore a pair of blue pajamas, slightly pulled down at the waist. Bagley’s hair was

near the child’s pelvic region. Bagley DM’d that Minor Victim 1 had the pajamas

because he was cold. Several times during the 3-day of messages, Bagley reminded

Dunn that the temperature was below freezing in Colorado. Bagley DM’d that she

was going to have Minor Victim 1 remove the pajamas. Dunn then stated, “Good.

See to it that he wears nothing and retake the photo but let me see your face more

and just the head of his dick in your mouth. I was to see full skin here and no clothing

in the way.” Bagley responded, “Yes Master” and “Master permission to wait. Their

father just showed up unannounced.” Bagley had earlier DM’d Dunn that she and



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her husband were separated and both sons lived with her. After some time, Dunn

DM’d about his request for photographs: “When you are available to talk just send

me a full body pic of both you and [Minor Victim 1] completely naked sitting next

to each other so I know you’re done. I don’t want to see one shred of clothing on

any one of you.”

      A few hours later, Bagley sent a photograph of her and Minor Victim 1, in

which Bagley’s face was visible, and she was shirtless down to her upper breast area.

Minor Victim 1 was visible from his face down to his torso area. He was shirtless

and appeared to be naked, but his genitals are not in the frame. Dunn DM’d in

response, “Now that [Minor Victim 1] is naked with you I want to see a couple pics,

one with his dick inside your mouth and the other you touching the head of his dick

with your tongue.” In response, Bagley sent a photograph of her face with her tongue

touching the tip of Minor Victim 1’s uncircumcised penis, with his hand in view.

Dunn inquired if Minor Victim 1 liked it. Bagley DM’d, “He says it’s weird.” Dunn

DM’d, “lol” and “Alright now a pic with it all the way in your mouth.” Bagley sent

a photograph of her face with her lips around Minor Victim 1’s penis, with his hand

in view. Dunn DM’d, “Good slave” to which Bagley messaged, “Thank you

Master.” Dunn then inquired about Bagley’s older son being involved in the same

way as Minor Victim 1 had been with oral sex, to which Bagley responded that he

was refusing to leave his room.



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      Later when discussing producing videos of Minor Victim 1, Dunn DM’d, “…

don’t make and send those videos until I tell you too. Let’s be smart and not use

Facebook in case of monitoring. I created you a gmail account that you’ll use under

the app of Hangouts so download hangouts on your phone and then login using

mastersslave7975@gmail.com with password ######### and look for me in

hangouts which you should find easily under nudistmale7975@gmail.com”.

      When Bagley was arrested at her District of Colorado residence on March 18,

2020, her iPhone X was seized and searched with her consent. Agents found the

master-slave contract Dunn had sent Bagley, images that Bagley sent at Dunn’s

request, and the images of Bagley having oral sex with Minor Victim 1. Agents also

found more than 3400 text messages with Dunn from December 10, 2019 through

February 21, 2020. Specifically, on December 10, 2019, Dunn asked Bagley to

produce videos performing oral sex on Minor Victim 1; on December 31, 2019,

Dunn repeated this request; on January 8, 2020, Dunn reminded Bagley that she

performed oral sex on Minor Victim 1; and on January 20, 2020, Dunn texted that

he was a registered sex offender.

      In response to a search warrant for this Gmail account, Google provided the

hangout messages for Dunn’s nudistmale7975@gmail.com account which included

communication with Bagley from November 21, 2019 through February 2020.




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      Minor Victim 1 confirmed the production of the child pornography of him by

his mother, Bagley. Minor Victim 1 identified the pajamas, from the photograph the

Bagley sent Dunn, as his pajamas. The pajamas were later recovered from a storage

unit Bagley rented in Colorado.

                               Standard of Review

      The Court of appeals reviews de novo the denial of a defendants motion to

dismiss an indictment based on a violation of the Speedy Trial Act, and any factual

determinations made by the District Court with regard to excludable time receive

clear error review. United States v. Ammar, 842 F.3d 1203 (11th Cir. 2016). The

Court of Appeals reviews the district court’s decision to grant an ends-of-justice

continuance under the Speedy Trial Act for an abuse of discretion. 18 U.S.C. §

3161(h)(7)(A); United States v. Larson, 627 F.3d 1198 (10th Cir. 2010).

                          Summary of the Argument

      In this case, the District Court erred in denying the Motion to Dismiss the

Indictment with prejudice. To begin, the first continuance granted in this case on

March 16, 2020, was an abuse of discretion and the order contained findings of fact

that were clearly erroneous. The court simply accepted the government’s contention

that it could not prepare for the grand juries, nor confirm a quorum for the Grand

Jury, even though Grand Juries were continuing to meet in their ordinary course at

the time pursuant to Chief Judge Moore’s administrative orders. The Court failed to



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inquire as to why the government needed more time to prepare and base its findings

on those reasons, as required to properly exclude time under the Speedy Trial clock.

Had the Court conducted the proper inquiry, it would have found that Grand Jury

sessions were continuing to meet in their ordinary course and that a quorum could

have been confirmed. As such, the order was an abuse of discretion and the findings

of fact were clearly erroneous.

      The remaining orders granting the continuances throughout the case failed to

provide the requisite analysis and findings of fact to properly exclude time under the

Speedy Trial clock. The Speedy Trial Act and controlling Supreme Court case law

explicitly states that in order to properly exclude time, the Court must state its

reasons for finding that the ends of justice served by granting the continuances

outweigh the interests of the defendant and the public in a Speedy Trial. Those

reasons, within the findings, must be found after the court conducts a proper analysis

of the statutory factors to exclude time under the Speedy Trial Act. The orders

granting the continuances in this case failed to provide any reasons as to why the

ends of justice were served by granting the continuance, and the orders provide no

indicia that the Court conducted the proper analysis of the statutory factors the court

must consider under the Speedy Trial Act. As such, the orders failed to provide

sufficient findings, and the time cannot be excluded under the Speedy Trial Act. The

resulting delay spanned over 289 days, vastly exceeding the thirty (30) day



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requirement to indict a defendant. Therefore, the Court must dismiss the indictment

with prejudice, as Dunn suffered significant prejudice resulting from the extensive

pre-indictment delay.

                                       Argument

 I.   The District Court Erred in Denying the Motion to Dismiss the
      Indictment With Prejudice.

   The Covid-19 pandemic has presented novel challenges, not only to the judiciary

system, but to the entire world as a whole. But the Constitution was created to stand

the test of time. It has stood the test of time for over 230 years, and it will continue

to do so. “Even in a pandemic, the Constitution cannot be put away and forgotten.”

Roman Cath. Diocese of Brooklyn v. Cuomo, 141 S. Ct. 63, 208 L. Ed. 2d 206 (2020).

There is no bigger test for the government and the courts, than to abide by its laws

and constitution in the face of emergencies such as a global pandemic. As the

Supreme Court has stated, “Nothing can destroy a government more quickly than its

failure to observe its own laws, or worse, its disregard of the charter of its own

existence.” Mapp v. Ohio, 367 U.S. 643, 81 S. Ct. 1684, 6 L. Ed. 2d 1081 (1961).

   In the case at hand, the District Court abused the ends-of-justice exception to the

Speedy Trial Act throughout the case. The District Court failed to conduct a proper

analysis of the statutory factors to the case-specific facts and failed to make sufficient

findings to properly exclude time under the Speedy Trial clock. The resulting pre-




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indictment delay violated the Speedy Trial Act and warrants dismissal of the

Indictment with Prejudice. Those issues are discussed in more detail below.

          a. The District Court’s Granting of the First Continuance Was An
             Abuse of Discretion And It’s Findings of Fact Were Clearly
             Erroneous

   The Sixth Amendment provides that “in all criminal prosecutions, the accused

shall enjoy the right to a speedy and public trial, by an impartial jury.” U.S. Const.

amend. VI. The right to a speedy trial “has roots at the very foundation of our English

law heritage” and “is one of the most basic rights persevered by our constitution.”

Klopfer v. State of N.C., 386 U.S. 213, 224, 226, 87 S.Ct. 988, 18 L.Ed.2d 1 (1967).

Indeed, “[e]xcept for the right of a fair trial before an impartial jury, no mandate of

our jurisprudence is more important” than a defendant’s right to a speedy trial.

Furlow v. United States, 644 F.2d 764, 769 (9th Cir. 1981). Congress enacted the

Speedy Trial Act in 1974 in order to make effective the Sixth Amendment’s

guarantee of a speedy trial. United States v. Olsen, 467 F. Supp. 3d 892 (C.D. Cal.

2020).

   The Speedy Trial Act requires that “[a]ny information or indictment charging an

individual with the commission of an offense shall be filed within thirty days from

the date on which such individual was arrested or charged with a summons in

connection with such charges.” 18 U.S.C. § 3161(b). Recognizing that criminal cases

vary widely and that there are valid reasons for greater delay in particular cases, the



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Act includes a long and detailed list of periods of delay that are excluded in

computing the time. Zedner v. United States, 547 U.S. 489, 126 S. Ct. 1976, 164 L.

Ed. 2d 749 (2006). When a court is presented with such a reason, the Act allows the

judge to exclude the period of justifiable delay from the speedy-trial computation.

Id. Among the various exclusions, the Act permits an “end-of-justice” continuance.

Id.

      Title 18 U.S.C. § 3161(h)(7)(A) provides:

         Any period of delay resulting from a continuance granted by any judge
         on his own motion or at the request of the defendant or his counsel or
         at the request of the attorney for the Government, if the judge granted
         such continuance on the basis of his findings that the ends of justice
         served by taking such action outweigh the best interest of the public and
         the defendant in a speedy trial. No such period of delay resulting from
         a continuance granted by the court in accordance with this paragraph
         shall be excludable under this subsection unless the court sets forth, in
         the record of the case, either orally or in writing, its reasons for finding
         that the ends of justice served by the granting of such continuance
         outweigh the best interests of the public and the defendant in a speedy
         trial.
         18 U.S.C. § 3161(h)(7)(A) (emphasis added).

         The spread of Covid-19 and the resulting court closures have made Section

3161(h)(7) the exclusion of choice in recent months. United States v. Harris, 460 F.

Supp. 3d 973 (E.D. Cal. 2020). District courts, to little objection, have often invoked

this catch-all provision in the wake of unforeseeable, emergency circumstances. Id.

Courts, however, must conduct far more deliberate inquiries into whether an ends-

of-justice continuance is justified by the circumstances surrounding the particular



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case. Id. Regardless of who seeks the continuance, a court must satisfy itself of each

of Section 3161(h)(7)’s requirements before granting the motion. Id. To do so, the

district court must consider certain factors, such as whether the failure to grant the

continuance would “result in a miscarriage of justice,” § 3161(h)(7)(B)(i); whether

due to the nature of the case (or other factors), the case is too complex to reasonably

expect adequate preparation within the Speedy Trial Act’s time limits, §

3161(h)(7)(B)(ii); or whether a refusal to continue the case would deny the defendant

“reasonable time to obtain counsel,” or would unreasonably deny either party time

for “effective preparation,” § 3161(h)(7)(B)(iv); United States v. Ammar, 842 F.3d

1203 (11th Cir. 2016). After independently considering factors listed in Section

3161(h)(7)(B), “among others,” a judge must determine whether “the ends of justice

served by granting a continuance” outweigh “the best interest of the public and the

defendant in the speedy trial” 18 U.S.C. § 3161(h)(7)(A).

      The ends-of-justice exclusion from the speedy trial period is meant to be a

rarely used tool for those cases demanding more flexible treatment, and thus ends-

of-justice continuances should not be granted cavalierly. United States v. Larson,

627 F.3d 1198 (10th Cir. 2010). The record must clearly establish that the district

court considered the proper factors at the time an ends-of-justice continuance was

granted under the speedy trial act. Id. In setting forth its findings in support of an

ends-of-justice continuance was granted under the Speedy Trial Act, the district



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court need not articulate facts which are obvious and set forth in the motion for the

continuance itself, but a record consisting of only short, conclusory statements

lacking detail is insufficient. Id. The record must explain “why the mere occurrence

of the event identified by the party as necessitating the continuance results in the

need for additional time… Simply identifying an event, and adding the conclusory

statement that the event requires more time for counsel to prepare, is not enough. Id.

(quoting United States v. Toombs, 574 F.3d 1262 (10th Cir. 2009)). If the District

Court fails to consider that statutory factors for granting an ends-of-justice

continuance under the Speedy Trial Act, the continuance period cannot be excluded

under the Act’s ends-of-justice provision. Id. If the thirty-day time limit is not met,

the Act entitled the defendant to the dismissal of the charged contained in the initial

complaint. United States v. Mathurin, 690 F.3d 1236 (11th Cir. 2012); See 18 U.S.C.

§ 3162(a)(1).

      In this case, Dunn was arrested on March 10, 2020. DE-1. On that same day,

Dunn’s detention hearing was set for March 17, 2020, while his preliminary

hearing/arraignment was set for March 24, 2020. DE-2. Three days after Dunn’s

arrest, on March 13, 2020, the Honorable K. Michael Moore, then-Chief Judge of

the Court, entered the first of a series of administrative orders regarding the Covid-

19 pandemic. This first order continued all jury trials in the Southern District of

Florida scheduled to begin on or after March 16, 2020, until March 30, 2020,



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pending further order from the court. While jury trials were continued, the order

stated that “criminal matters before Magistrate Judges, such as initial appearances,

arraignments, detention hearings, and the issuance of search warrants, shall continue

to take place in their ordinary course.” AO-2020-18 (emphasis added). The order

further stated that “Grand juries shall continue to meet pending further order of the

court.” Id.

      On March 16, 2020, the Government filed an Unopposed Motion to Continue

Arraignment. DE-6. The motion stated that, “Due to the unforeseen nature of the

global coronavirus pandemic, the government and its agents will not be able to

prepare properly for Grand Jury, or confirm that a quorum for Grand Jury will be

available, such that an Indictment is returned before the arraignment on March 24,

2020.” Id.

      The same day, on March 16, 2020, U.S. Magistrate Judge Bruce E. Reinhart

issued a paperless order granting the Government’s unopposed Motion to Continue

Arraignment. DE-7. The order stated:

      “in light of the current public health emergency, the interests of justice
      require the Court to take additional steps to protect the health and safety
      of the parties, counsel, and court staff; they also require that steps be
      taken to ensure that counsel and client (particularly incarcerated clients)
      have meaningful consultation. Therefore, the Court continues the
      arraignment in this matter until April 6, 2020, at 10:00 a.m. See
      Administrative order 2020-18, 4 (Individual judges presiding over
      criminal proceedings may take such action consistent with this order s
      may be lawful and appropriate to ensure the fairness of the proceedings
      and preserve the rights of the parties). The time from now until April 6,

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        2020, shall be excluded under the Speedy Trial Act, 18 U.S.C. §
        3161(h)(7)(A), as the Court finds that the ends of justice served by this
        continuance outweigh the interests of the parties and the public in a
        speedy trial. The Court will also continue the detention hearing until
        March 18, 2020, at 10:00 a.m.”
        Id.

        This paperless order granting the Motion to Continue Arraignment was an

abuse of discretion. In its Motion to Continue Arraignment, the Government asserted

that it would not be able to prepare properly for the Grand Jury, or confirm that a

quorum for Grand Jury would be available. The Court in turn plainly accepted their

argument without properly inquiring as to why they wouldn’t be able to prepare

properly for the grand jury, or that a quorum for Grand Jury would be present.

Similar to the facts of Larson, the Government asserted that an event, the pandemic,

requires more time to sufficiently prepare for the grand jury. The Government did

not specify any details in its motion as to why it needed more time to prepare.

Likewise, the court simply accepted this contention, without inquiring as to why the

Government needed more time to prepare. The Court did not point to anything

specific in this case to support its findings that more time was required to prepare.

By doing so, the Court identified the event, and added conclusory statements that

the event requires more time to prepare, which is not sufficient. Larson, 627 F.3d at

1204.

        Moreover, the record must clearly establish that the district court considered

the proper factors at the time an ends-of-justice continuance was granted under the

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speedy trial act. Id. Nevertheless, the District Court considered only one of the

statutory factors of Section 3161(h)(7)(B): Competency/continuity of counsel.

Section 3161(h)(7)(B)(iv) requires judges to consider counsel’s ability to prepare

and present their case, even when the case is not so complex that it bears independent

consideration under the “complexity” factor. For obvious reasons, this factor

intersects with the current Covid-19 pandemic. The intuitive appeal of this factor,

however, does not free judges from making case specific findings that are required

by Section 3161(h)(7)(A). When invoking this provision, the government should

offer something about the specific people and documents [that are] involved in the

underlying case, why they [will be] unavailable, or what information they were

looking for [that] they lacked access to because of teleworking or other conditions

[that were] created by Covid-19. Elms v. United States, 457 F. Supp. 3d 897 (D. Nev.

2020) (evidence did not support magistrate judge’s conclusion that justice favored

delaying defendant’s preliminary hearing where the judge’s findings did not provide

any reasons for its delay… beyond the general statement of abstract difficulty).

Judges cannot conclude that one of the Section 3161(h)(7)(B) factors justify a

continuance without tethering that conclusion to case-specific considerations.

United States v. Harris, 460 F. Supp. 3d 973 (E.D. Cal. 2020). The Magistrate Judge

in this case only considered one of the statutory factors, which the statute itself and

the supporting case law make clear is insufficient to grant the continuance. Even



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while only considering one of the necessary factors, the court failed to explain how

the specifics of this case warranted the continuance under that one factor. The court

simply just made vague, conclusory statements without explaining how the facts of

this case warranted the continuance under that enumerated factor.

      Not only did the court fail to consider the other statutory factors as required

by the STA, but the continuance was granted without any inquiry into case specific

facts as to why the government was unable to prepare. Judges are not entitled to “rely

on unverified claims” of the party seeking the continuance. United States v. Lloyd,

125 F.3d 1263 (9th Cir. 1997) (district court may not simply credit vague statements

by one party’s lawyer about possible scheduling conflicts or general desires for

continuance of other parties or their attorneys; instead, it must conduct appropriate

inquiry to determine whether various parties actually need a continuance and how

long of a delay is actually required). The Court in this case simply credited the

government’s contention that it would not be able to prepare properly for the Grand

Jury. The Court improperly failed to conduct a proper inquiry as to why the

government could not prepare for the Grand Jury, and by simply crediting the vague

statement, made a clearly erroneous finding that the continuance was needed.

Moreover, had the Court conducted the proper inquiry, the Court would have found

that a quorum for the Grand Jury could have been confirmed as Grand Juries were

continuing to meet in their ordinary course at this time. See AO-2020-18.



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      Furthermore, the Court granted the continuance in direct contradiction to

Chief Judge Moore’s administrative orders. In granting the Government’s motion to

continue, the Court relied on Administrative order 2020-18, 4 “Individual judges

presiding over criminal proceedings may take such action consistent with this order

as may be lawful and appropriate to ensure the fairness of the proceedings and

preserve the rights of the parties.” The Magistrate Judge’s order, however, is not

consistent with Chief Judge Moore’s administrative order. In fact, it directly

contradicts the Chief Judge’s order. Administrative Order 2020-18 only continued

jury trials and trial specific deadlines. AO 2020-18 at 1 (Effective immediately, all

jury trials in the Southern District of Florida scheduled to begin on or after March

16, 2020, until March 30, 2020, are continued pending further order of the court. All

trial-specific deadlines in criminal cases scheduled to begin before March 30, 2020,

are continued pending further order from the court). While jury trials were

continued, the Administrative Order made it clear that “Criminal matters before

Magistrate Judges, such as initial appearances, arraignments, detention hearings,

and the issuance of search warrants, shall continue to take place in the ordinary

course.” Id. at 3 (emphasis added). The Order further stated, “Grand juries shall

continue to meet pending further order of the Court.” Id. The Magistrate’s order was

not consistent with the Chief Judges Administrative Order, rather, it directly

contradicted it.



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      While the Government asserted that they couldn’t confirm a quorum for a

Grand Jury, Grand Juries were still continuing to meet. In fact, the Chief Judge

specifically ordered Arraignments, detention hearing, and grand juries to continue

in their ordinary course at that time. AO-2020-18 at 3. The Magistrate Judge’s plain

acceptance of the Government’s contention, without inquiry into why the

Government needed more time to prepare and why a quorum for the grand jury could

not be confirmed while Grand Juries were, in fact, still continuing to meet was an

abuse of discretion. As such, the Continuance should be vacated and the time tolled

from this continuance should not be excluded under the Speedy Trial clock.

          b. The District Court Abused the Ends-of-Justice Exceptions and
             Failed to Make Sufficient Ends-of-Justice Findings, as required
             by the Speedy Trial Act to Properly Exclude Time

      Following the initial improper continuance argued supra, the Court continued

Dunn’s arraignment three more times. The Court’s orders granting the continuances

lacked the sufficient findings required to properly continue the case and exclude time

under the Speedy Trial Act, resulting in a Speedy Trial violation.

   The Speedy Trial Act requires that “[a]ny information or indictment charging an

individual with the commission of an offense shall be filed within thirty days from

the date on which such individual was arrested or charged with a summons in

connection with such charges.” 18 U.S.C. § 3161(b). Recognizing that criminal cases

vary widely and that there are valid reasons for greater delay in particular cases, the



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Act includes a long and detailed list of periods of delay that are excluded in

computing the time. Zedner v. United States, 547 U.S. 489, 126 S. Ct. 1976, 164 L.

Ed. 2d 749 (2006). When a court is presented with such a reason, the Act allows the

judge to exclude the period of justifiable delay from the speedy-trial computation.

Id. Among the various exclusions, the Act permits an “end-of-justice” continuance.

This provision permits a district court to grant a continuance and to exclude the

resulting delay if the court, after considering certain factors, makes on-the-record

findings that the ends of justice served by granting the continuance outweigh the

public’s and defendant’s interest in a speedy trial. Id. at 1984. This provision gives

the district court discretion-within limits and subject to specific procedures- to

accommodate limited delays for case-specific needs. Id. at 499 (emphasis added).

   Title 18 U.S.C. § 3161(h)(7)(A) provides:

      Any period of delay resulting from a continuance granted by any judge
      on his own motion or at the request of the defendant or his counsel or
      at the request of the attorney for the Government, if the judge granted
      such continuance on the basis of his findings that the ends of justice
      served by taking such action outweigh the best interest of the public and
      the defendant in a speedy trial. No such period of delay resulting from
      a continuance granted by the court in accordance with this paragraph
      shall be excludable under this subsection unless the court sets forth, in
      the record of the case, either orally or in writing, its reasons for finding
      that the ends of justice served by the granting of such continuance
      outweigh the best interests of the public and the defendant in a speedy
      trial.
      18 U.S.C. § 3161(h)(7)(A) (emphasis added).




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      For purposes of Speedy Trial Act, the ends of justice exclusion for a

continuance must be used only where necessary and may not be granted as a matter

of course. United States v. Martin, 742 F.2d 512 (9th Cir. 1984). The ends-of-justice

provision is not a general exclusion for every delay, and any continuance granted

under it must be based on specific underlying factual circumstances. Id. Because

Section 3161(h)(7)(A) requires the balancing of the factors to be case-specific, the

Court cannot find that considerations surrounding Covid-19’s impact on public

safety and the court’s operations will, in every case, outweigh the best interest of the

defendant and the public in a speedy trial. United States v. Harris, 460 F. Supp. 3d

973 (E.D. Cal. 2020). And although ends-of-justice interests and speedy-trial

interests are concededly abstract, a judge must nevertheless attempt to define them

in each case and assess which set of interests is weightier under the circumstances.

Id. at 977 (emphasis added).

      The record must clearly establish that the district court considered the proper

factors at the time an ends-of-justice continuance was granted under the speedy trial

act. United States v. Larson, 627 F.3d 1198 (10th Cir. 2010). In setting forth its

findings in support of an ends-of-justice continuance was granted under the Speedy

Trial Act, the district court need not articulate facts which are obvious and set forth

in the motion for the continuance itself, but a record consisting of only short,

conclusory statements lacking detail is insufficient. Id. If the district court fails to



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consider that statutory factors for granting an ends-of-justice continuance under the

Speedy Trial Act, the continuance period cannot be excluded under the Act’s ends-

of-justice provision. Id. If the thirty-day time limit is not met, the Act entitles the

defendant to the dismissal of the charged contained in the initial complaint. United

States v. Mathurin, 690 F.3d 1236 (11th Cir. 2012); See 18 U.S.C. § 3162(a)(1).

      In this case, throughout the entirety of the pre-indictment delay, the Chief

Judge of the Southern District of Florida continually issued administrative orders

concerning the Covid-19 pandemic. These orders continued jury trials, grand jury

proceedings, and instructed judges withing the district on how to conduct the courts

through the Covid-19 pandemic. All of the Chief Judge’ administrative orders

continuing proceedings contained a provision addressing the Speedy Trial Act,

finding that the ends of justice served outweigh the interests of the public and the

defendant. For example, Administrative Order 2020-22 continued Grand Juries

sessions in the Southern District of Florida stated:

      “Although the Speedy Trial Act requires an information or indictment
      charging an individual with the commission of an offense to be filed
      within thirty (30) days from the date on which such individual was
      arrested or served with a summons in connection with such charges, the
      period of any continuance of grand jury sessions shall be excluded
      under the Speed Trial Act, pursuant to 18 U.S.C. § 3161(h)(7)(A) and
      (B)(iii). The Court finds that the ends of justice served by taking this
      action outweigh the interests of the parties and the public in a speedy
      trial because the continuance of grand jury sessions in this district
      renders it unreasonable to expect the return and filing of an indictment
      within the period set forth in 18 U.S.C. § 3161(b)… This Order and
      period of exclusion are incorporated by reference as a specific finding

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      pursuant to 18 U.S.C. § 3161(h)(7)(A) in the record of each pending
      case where the Speedy Trial Act applies. See Zedner v. United States,
      547 U.S. 489, 506-07 (2006).”
      AO-2020-22 at 1-2.

      With all due respect to the Court and Chief Judge Moore, these all-inclusive

blanket continuances do not suffice under the current requirements of the Speedy

Trial Act and the corresponding case law. To the contrary, Section 3161(h)(7)(A)

explicitly states that “no such period of delay resulting from a continuance granted

by the court in accordance with this paragraph shall be excludable under this

subsection unless the court sets forth, in the record of the case,” 18 U.S.C. §

3161(h)(7)(A) (emphasis added). Moreover, there is no case law to support the

proposition that a judge may grant blanket continuances under the Speedy Trial Act

and apply it to every pending case in the district. In fact, Zedner, the case relied upon

by Chief Judge Moore, explicitly states that the provision of the Speedy Trial Act of

relevance here is to accommodate limited delays for case-specific needs. Zedner,

547 U.S. at 499. While district courts, to little objection, have often invoked this

catch-all provision in the wake of unforeseeable, emergency circumstances, courts,

must conduct far more deliberate inquiries into whether an ends-of-justice

continuance is justified by the circumstances surrounding the particular case. Elms

v. United States, 457 F. Supp. 3d 897 (D. Nev. 2020). Simply put, a general, all-

inclusive blanket continuance that states it applies to every case within the district

cannot be reasonably said to be case-specific as the statute and case law requires. As

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such, the Administrative Orders of the District are not controlling as to whether the

court made sufficient findings to properly exclude time under the Speedy Trial Act.

What is of relevance and determinative in this case are the orders and findings that

the Magistrate Judges made throughout this case. Those orders and findings are

discussed below.

       Following the initial continuance of the arraignment discussed supra, the

Government filed a second unopposed Motion to Continue Arraignment on March

30, 2020. DE-10. In its motion, the government requested that the arraignment be

continued 45 days from April 6, 2020, to May 21, 2020, citing Chief Judge Moore’s

Administrative Order 2020-22, which continued all grand jury sessions until April

27, 2020. Id. at 2. The government stated that it had corresponded with Dunn’s

public defender, and that the parties agreed that the ends of justice served by

continuing the arraignment outweigh the best interest of the public and the defendant

in a speedy trial. Id.

       The following day, U.S. Magistrate Judge Dave Lee Brannon issued a

paperless order granting the Government’s unopposed motion to continue

Arraignment. DE-11. The paperless order stated, “The Court finds that the time

between 4/6/2020 and 5/21/2020 is speedy trial excludable in that the ends of justice

are served by continuing the preliminary hearing/arraignment and outweigh the best

interest of the public and the defendant in a speedy trial.” Id.



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      This order failed to provide the sufficient analysis and findings required by

the Speedy Trial Act to properly exclude time under the Speedy Trial clock. Section

3161(h)(7)(A) of the Speedy Trial Act explicitly states that time will not be excluded

unless “the court set forth, in the record of the case, either orally or in writing, its

reasons for finding that the ends of justice served by the granting of such

continuance outweigh the best interests of the public and the defendant in a speedy

trial.” 18 U.S.C. § 3161(h)(7)(A) (emphasis added). The order above failed to

provide any reasons as to why the ends of justice served by the granting of the

continuance outweigh the interests of the defendant and the public, as required by

the Speedy Trial Act. Moreover, the court failed to provide any indica that it

conducted a sufficient analysis weighing the statutory factors of Section

3161(h)(7)(B), as required to exclude time under the Speedy Trial Act. As the

Supreme Court stated in Zedner, the ends-of-justice provision “demands on-the-

record findings and specified in some detail certain factors that a judge must

consider in making those findings.” Zedner, at 509. And if the District Court fails to

consider that statutory factors for granting an ends-of-justice continuance under the

Speedy Trial Act, the continuance period cannot be excluded under the Act’s ends-

of-justice provision. Larson, 627 F.3d. at 1204. As the court failed to provide any

reasons as to why the ends of justice were served by the continuance in this case,

accompanied with the failure to consider the statutory factors, the time cannot be



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excluded under the Speedy Trial Act as stated in the statute and controlling Supreme

Court caselaw.

      The insufficient findings and continuances persisted throughout Dunn’s case.

Following Dunn’s preliminary hearing, on May 20, 2020, the Court issued an order

finding that the “Defendant be held to answer the charges” DE-15. In that same

order, U.S. Magistrate Judge Bruce E. Reinhart found that “Pursuant to

Administrative Order 2020-24, the period of time from today through July 6, 2020,

is excluded under the Speedy Trial Act.” Id.

      In his order, Judge Reinhart relied on Administrative Order 2020-24 to

exclude time from the Speedy Trial clock. But as stated supra, the findings must be

case-specific and “be on the record in the case”. Simply relying on a general all-

inclusive blanket continuance does not suffice under the Speedy Trial Act or

controlling case law. Moreover, the order failed to find that the ends of justice served

by the granting of the continuance outweighs the best interests of the defendant and

the public in a speedy trial, as explicitly required by the Speedy Trial Act. Further,

the order fails to provide any reasons as to why the continuance was granted, nor

does it provide any indicia that it properly considered the statutory factors of the

Speedy Trial Act, both of which are required to properly exclude time from the

Speedy Trial clock. As such, this order was clearly erroneous as it failed to provide




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any findings required by the Speedy Trial Act and the time cannot be excluded from

Speedy Trial calculations.

      A status conference for Dunn’s arraignment was held on July 6, 2020.

Following the status conference, U.S. Magistrate Judge William Matthewman reset

Dunn’s arraignment for October 21, 2020. DE-16. The order stated that the “Court

found the time between 7/6/2020 and 10/21/2020 excludable and that the ends of

justice served by granting this continuance outweigh the interests of the defendant

and the public in a speedy trial for the reasons as stated on the record.” Id. Here,

similar to the previous orders, the Court failed to provide its reasons for finding that

the ends of justice were served by granting this continuance, as required under the

Speedy Trial Act. The order also failed to provide any indicia that it considered all

the statutory factors a court must consider in making its findings to properly exclude

time under the Speedy Trial Act.

      The Court continued the arraignment one more time in this case. On October

20, 2020, an unopposed motion to continue arraignment was filed by Dunn,

requesting the arraignment be continued 90 days as grand jury sessions had still not

reconvened and no indictment had been returned. DE-19. That same day, U.S.

Magistrate Judge Bruce E. Reinhart issued a paperless order granting the motion and

continuing the arraignment to January 1, 2021. DE-20. The paperless order found

that “the time period between October 20, 2020 through January 20, 2021 is



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excludable from the speedy trial calculations, because the ends of justice served by

this delay outweigh the interests of the defendant and the public in a speedy trial.”

Id.

      As a prefatory matter, it is not dispositive that Dunn filed the motion to

continue the arraignment instead of the government or the Court ordering it sua

sponte. As this Circuit has held, a defendant cannot waive the Speedy Trial Act’s

timeliness requirements; the district court bears the burden of making ends-of-justice

findings and placing them on the record irrespective of the defendant’s agreement to

a delay. United States v. Ammar, 842 F.3d. 1203 (11th Cir. 2016). A defendants

agreement to waive the protections of the Speedy Trial Act cannot, by itself, justify

an ends-of-continuance because the public interest in a speedy trial is also protected

by the act. Id. As the Honorable Judge Roy Altman stated in his order denying the

Motion to Dismiss, “Of course, none of this really matters because, as Zedner

explained, “a defendant may not prospectively waive the application of the Act.”

547 U.S. at 503.” DE-78 at 17.

      Moving forward to the analysis of the findings within this order, similar to the

previous orders, this paperless order lacked the sufficient findings and analysis to

properly exclude time under the Speedy Trial Act. The order issued on October 20,

2020, again failed to provide its reasons as to why the ends of justice served by the

continuance outweigh the interests of the defendant and the public, as required under



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the Speedy Trial Act. Moreover, similar to the previous orders, it failed to provide

any indicia that the court conducted a proper analysis and considered the statutory

factors under the act, as required by both the Speedy Trial Act and Zedner.

      In sum, each of the Magistrate Judge’s orders in this case lacked the necessary

analysis and findings to properly exclude time under the Speedy Trial Act. The

orders failed to provide the reasons as the why the ends of justice were served by the

continuance, as required by the Speedy Trial Act. Furthermore, the orders failed to

provide any indicia that the court engaged in a proper consideration of the statutory

factors in determining whether to grant the continuance, as required by both the

Speedy Trial Act and controlling Supreme Court case law. Since the orders failed to

contain the required analysis and findings to exclude time, the time of delay from

each of those continuances cannot be excluded under the Speedy Trial clock. Across

all the improper continuances in this case, including the continuance discussed in

the first section of this argument, a total of 283 days were improperly excluded from

the Speedy Trial calculations. In addition to the 283 days that were improperly

excluded, six days had passed from his arrest and were attributed to the Speedy Trial

clock. Thus, a total of 289 days had passed under the Speedy Trial clock before Dunn

was Indicted, vastly exceeding the thirty (30) day statutory requirement under the

Speedy Trial Act. As the time from the arrest to the Indictment vastly exceeds the




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thirty (30) day requirement, the Indictment must be dismissed. Mathurian, 690 F.3d

at 1242.

           c. The Speedy Trial Act Violation Warrants Dismissal With
              Prejudice

      If the thirty-day time limit is not met, the Act entitles the defendant to the

dismissal of the charges contained in the complaint. United States v. Mathurin, 690

F.3d 1236 (11th Cir. 2012). The Speedy Trial Act sets forth three factors for a court

to consider in deciding whether a dismissal should be with or without prejudice: (1)

the seriousness of the offense; (2) the facts and circumstances leading to the

dismissal; and (3) the impact of a re-prosecution and the administration of the

Speedy Trial Act and the administration of justice. See 18 U.S.C. § 3162(a)(2). The

defendant has the burden of proof in supporting a motion to dismiss but the

Government has the burden of coming forward with evidence in connection with

any exclusion of time. Id. § 3162(a)(1). Length of delay can sometimes be enough

by itself, to justify the dismissal with prejudice because of failure to indict a

defendant within 30 days. United States v. Godoy, 821 F.2d 1498 (11th Cir. 1987).

In order to prevent abuse of the Speedy Trial Act’s deadlines, we require a showing

of “some affirmative justification” by the government to warrant a dismissal without

prejudice. Id. at 1505. A delay becomes presumptively prejudicial as it approaches

one year. United States v. Knight, 562 F.3d 1314 (11th Cir. 2009).




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      In this case, Dunn was charged with crimes that carry a potential of a

significant sentence. Pursuant to the outcome of this appeal, Dunn plead guilty and

was sentenced to a total of 600 months. Admittedly, the first factor concerning the

seriousness of the offense favors the government.

      The second factor and third factor, the facts and circumstances leading to the

dismissal and the impact or re-prosecution, weighs heavily against the Government.

When analyzing this factor, it is important to note that the Supreme Court in Barker

v. Wingo, recognized that:

      “the societal disadvantages of lengthy pretrial incarceration, but
      obviously the disadvantages for the accused who cannot obtain his
      release are even more serious. The time spent in jail awaiting trial has
      a detrimental impact on the individual. It often means loss of a job; it
      disrupts family life; and it enforces idleness. Most jails offer little or no
      recreational or rehabilitative programs. The time spent in jail is simply
      dead time. Moreover, if a defendant is locked up, he is hindered in his
      ability to gather evidence, contact witnesses, or otherwise prepare his
      defense. Imposing those consequences on anyone who has not yet been
      convicted is serious. It is especially unfortunate to impose them on
      those persons who are ultimately found to be innocent. Finally, even if
      an accused is not incarcerated prior to trial, he is still disadvantaged by
      restraints on his liberty and by living under a cloud of anxiety,
      suspicion, and often hostility.”
      Barker v. Wingo, 407 U.S. 514, 92 S. Ct. 2182, 33 L. Ed. 2d 101 (1972).

      Indeed, the nearly two years spent incarcerated awaiting his chance to try to

prove his innocence has been detrimental to Dunn in various ways. First, because of

the constant lock-down status at the Palm Beach County and Broward County main

jails, Dunn has had recreation time only five times in the two years awaiting trial.



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Three of those times, however, were only because of a “shakedown of the dorm.”

During this two year time-period, the Covid-19 virus had infected a number of fellow

inmates, putting him at risk every time. Because of the inadequate recreation,

accompanied with the poor nutritional diet provided, Dunn contracted Type II

diabetes. Until he managed to get the Doctor to change his medication, he would

suffer terrible bruising as a result of the constant insulin shots. Even now, he is

experiencing a problem with the dosage amount of his glipizide, which acts as

insulin and is given orally. Without it, he suffered from hyperglycemia; high blood

glucose levels, and a diabetic coma. With it, as he takes it daily, he faces

hypoglycemia, low blood glucose levels, and if his glucose gets too low he faces a

diabetic coma again, as most days he endures constant shaking, dizziness, and

clamminess from blood-glucose levels being too low, a symptom of hypoglycemia.

      Moreover, at the time he was preparing and writing his Reply to the

Government’s Response, he contracted “scabies”, a microscopic mite that infests

below the skin and causes extreme discomfort and profuse itching, which took 3

treatments to get rid of once he convinced the medical staff that it was what he was

suffering from. He also endured several slip-and-falls at the Paul Rein Facility, due

to only “shower slides” to wear which do not prevent slippage on the sleek tiled

floors; his left knee was bruised and swollen for weeks due to multiple falls. He also

endured intense pain for eight weeks due to a tooth that broke, exposing the nerve.



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He was unable to sleep or eat and was unable to get more than two Tylenol twice

daily for the pain, and even then, it took three grievances and much pleading with

the medical staff to get treatment.

      Furthermore, just days after Dunn’s arrest, his brother-in-law and his only

witness, passed away due to leukemia. His brother in law knew of the pictures, knew

he was being scammed and even black-mailed just days prior to his arrest. As the

Supreme Court recognized in Barker v. Wingo, “if witnesses die or disappear during

a delay, the prejudice is obvious.” Wingo, 407 U.S. 514, 92 S. Ct. 2182, 33 L. Ed.

2d at 532. As such, the prejudice to Dunn is obvious.

       Lastly, when looking at the timeline of the continuances and the Court’s

approach to handling the Covid-19 pandemic, the analysis weighs in favor of Dunn.

As of October, all but a few of the 94 U.S. district courts had returned to the use of

grand juries. Grand juries carry on during pandemic, United States Courts,

https://www.uscourts.gov/news/2020/10/27/grand-juries-carry-during-pandemic

(last visited Aug 3, 2022).The Southern District of Florida was one of the few

districts in the United States that had not reconvened grand juries sessions by

October and the Southern District of Florida would continue to not hold grand juries

sessions for another two months, despite nearly every other district in the United

States having safely conducted grand jury sessions. In districts with significant

caseloads and high infections rates such as the New Mexico District Court and the



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Southern District of New York, grand juries began reconvening safely as early as

May and June. Id. at 1-2. As the Honorable New York Southern District Chief Judge

Collen McMahon stated, “You can quickly run into constitutional problems. Our

philosophy is, we can try and fail, but we can’t not try. Then we at least have an

argument to make when someone raises constitutional and speedy trial issues.” Id.

at 4. The same cannot be said for the Southern District of Florida. The District was

one of the last, if not the last, districts to attempt to resume grand jury proceedings.

As shown by nearly every other district court in the United States, reconvening grand

juries in a safe and efficient manner was not impossible, the district just failed to try,

to the detriment of the defendants within the district, and specifically, Robert Dunn.

                                   CONCLUSION

      For the foregoing reasons, Robert Dunn respectfully requests this Court to

dismiss the Indictment with prejudice.

               CERTIFICATE OF TYPE STYLE AND VOLUME

      I HEREBY CERTIFY that the brief complies with the type-style volume

limitation and contains 12,265 words.

                                                        s/Edward J. O’Donnell, IV

     CERTIFICATE OF COMPLIANCE WITH ELECTRONIC FILING

      I HEREBY CERTIFY that the brief has been, or shortly will be, provided to

the Court in electronic format as described in 11th Cir. R. 31-5.



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                                                     s/Edward J. O’Donnell IV

                        CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that a true and correct copy of the foregoing was filed

and served using the CM/ECF system on this 5th of August, 2022.

                                                     Respectfully submitted,

                                                     s/Edward J. O’Donnell, IV

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